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 PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 DR. BOBBY OJOSE,                                  )
                                                   )     CASE NO. 4:16CV2952
                 Plaintiff,                        )
                                                   )
                 v.                                )     JUDGE BENITA Y. PEARSON
                                                   )
 DR. MARCIA J. MATANIN, et al.,                    )
                                                   )
                 Defendants.                       )     ORDER OF DISMISSAL



          Having filed its Memorandum of Opinion and Order, the Court hereby dismisses with

 prejudice the Second Amended Complaint (ECF No. 39) as to Defendants Dr. Marcia J. Matanin,

 James P. Tressel, Dr. Martin A. Abraham, Dr. Charles L. Howell, Kevin W. Reynolds, Cynthia

 A. Kravitz, and Ken Learman.

          This Order of Dismissal constitutes entry of judgment pursuant to Fed. R. Civ. P. 58.

 Final.

          The Clerk is directed to issue a copy of this Order of Dismissal by regular mail to Dr.

 Bobby Ojose, 5744 Hayter Avenue, Lakewood, California 90712-1609.




    March 6, 2019                                 /s/ Benita Y. Pearson
 Date                                           Benita Y. Pearson
                                                United States District Judge
